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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                                  CASE NO. 1:90-cr-01007-MMP

ALAIN STRONG,

      Defendant.
________________________________/

                                             ORDER


       This matter is before the Court on Doc. 298, Motion for Remission of Fine, filed by the

United States of America. In the motion, the Government moves, under 18 U.S.C. § 3573, for

remission of all the unpaid portion of the fine imposed on June 17, 1996, against Defendant

Alain Strong. The Court has considered the Petition and the pertinent parts of the record, and

finds that there is no reasonable likelihood that expending further efforts to collect this fine

would produce any revenue to the United States. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       The Petition is granted and all of the unpaid portion of the $25,000.00 fine, plus interest
       and penalties, if any, imposed June 17, 1996, is hereby vacated and remitted.

       DONE AND ORDERED this              9th day of July, 2008


                                        s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
